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                           5
                             Attorneys for Defendant
                           6 STATE FARM BANK, F.S.B.
                           7
                           8
                           9                       UNITED STATES DISTRICT COURT
                          10                FOR THE EASTERN DISTRICT OF CALIFORNIA
                          11 AMARIS A. ALCANTAR,                      )   CASE NO. 2:21-cv-01681-TLN-JDP
                                                                      )
                          12                      Plaintiff,          )   STATE FARM BANK, F.S.B.’S
                                                                      )   ANSWER AND AFFIRMATIVE
                          13   vs.                                    )   DEFENSES TO COMPLAINT
Irvine, CA 92614-8516
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                                                                      )
                          14   AFNI, INC., and STATE FARM             )
                               BANK, F.S.B.,                          )
                          15                                          )
                                                  Defendant.          )
                          16                                          )
                          17         Defendant State Farm Bank, F.S.B. (“State Farm Bank”), in answer to
                          18 Amaris A. Alcantar’s complaint, admits, denies and responds as follows:
                          19                              Nature of the Action
                          20         1.    This paragraph sets forth legal theories, conclusions or arguments to
                          21 which no response is required. To the extent a response is required, State Farm
                          22 Bank does not have sufficient information and belief to admit or deny the
                          23 allegations contained in paragraph 1, and denies such allegations on that basis.
                          24                               Jurisdiction and Venue
                          25         2.    This paragraph sets forth legal theories, conclusions or arguments to
                          26 which no response is required. To the extent a response is required, State Farm
                          27 Bank lacks sufficient information and belief to admit or deny the allegations
                          28 contained in paragraph 2, and denies such allegations on that basis.


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                                     STATE FARM BANK, F.S.B. ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
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                           1          3.   This paragraph sets forth legal theories, conclusions or arguments to
                           2 which no response is required. To the extent a response is required, State Farm
                           3 Bank lacks sufficient information and belief to admit or deny the allegations
                           4 contained in paragraph 3, and denies such allegations on that basis.
                           5                                        Parties
                           6          4.   This paragraph sets forth legal theories, conclusions or arguments to
                           7 which no response is required. To the extent a response is required, State Farm
                           8 Bank lacks sufficient information and belief to admit or deny the allegations
                           9 contained in paragraph 4, and denies such allegations on that basis.
                          10          5.   State Farm Bank admits that at the relevant times mentioned in the
                          11 complaint it was a federally chartered bank and was doing business in the State of
                          12 California.
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                          13          6.   This paragraph sets forth legal theories, conclusions or arguments to
                          14 which no response is required. To the extent a response is required, State Farm
                          15 Bank lacks sufficient information and belief to admit or deny the allegations
                          16 contained in paragraph 6, and denies such allegations on that basis.
                          17          7.   This paragraph sets forth legal theories, conclusions or arguments to
                          18 which no response is required. To the extent a response is required, State Farm
                          19 Bank lacks sufficient information and belief to admit or deny the allegations
                          20 contained in paragraph 7, and denies such allegations on that basis.
                          21                        Facts and Supporting Cause of Action
                          22          8.   State Farm Bank admits that in June of 2016, it entered into a
                          23 promissory note and security agreement with Amaris Alcantar, that was secured by
                          24 a vehicle. State Farm Bank denies that this agreement was entered into in 2015.
                          25          9.   State Farm Bank lacks sufficient information and belief to admit or
                          26 deny the allegations contained in paragraph 9, and denies such allegations on that
                          27 basis.
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                                      STATE FARM BANK, F.S.B. ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
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                           1          10.   State Farm Bank lacks sufficient information and belief to admit or
                           2 deny the allegations contained in paragraph 10, and denies such allegations on that
                           3 basis.
                           4          11.   State Farm Bank lacks sufficient information and belief to admit or
                           5 deny the allegations contained in paragraph 11, and denies such allegations on that
                           6 basis.
                           7          12.   State Farm Bank lacks sufficient information and belief to admit or
                           8 deny the allegations contained in paragraph 12, and denies such allegations on that
                           9 basis.
                          10          13.   State Farm Bank lacks sufficient information and belief to admit or
                          11 deny the allegations contained in paragraph 13, and denies such allegations on that
                          12 basis.
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                          13          14.   State Farm Bank lacks sufficient information and belief to admit or
                          14 deny the allegations contained in paragraph 14, and denies such allegations on that
                          15 basis.
                          16          15.   State Farm Bank admits that it agreed to settle Plaintiff’s account, the
                          17 settlement agreement terms are referenced in a letter from State Farm Bank to
                          18 Plaintiff dated May 15, 2020. One of those terms included monthly payments in
                          19 the amount of $300.00 per month, for 30 months. State Farm Bank lacks sufficient
                          20 information and belief to admit or deny the remaining allegations contained in
                          21 paragraph 15, and denies such allegations on that basis.
                          22          16.   State Farm Bank admits Plaintiffs made some payments, beginning in
                          23 June of 2020, of $300 per month, to State Farm Bank. State Farm Bank lacks
                          24 sufficient information and belief to admit or deny the allegations contained in
                          25 paragraph 16, and denies such allegations on that basis.
                          26          17.   State Farm Bank lacks sufficient information and belief to admit or
                          27 deny the allegations contained in paragraph 17, and denies such allegations on that
                          28 basis.


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                                      STATE FARM BANK, F.S.B. ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
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                           1          18.   State Farm Bank lacks sufficient information and belief to admit or
                           2 deny the allegations contained in paragraph 18, and denies such allegations on that
                           3 basis.
                           4          19.   State Farm Bank lacks sufficient information and belief to admit or
                           5 deny the allegations contained in paragraph 19, and denies such allegations on that
                           6 basis.
                           7          20.   State Farm Bank lacks sufficient information and belief to admit or
                           8 deny the allegations contained in paragraph 20, and denies such allegations on that
                           9 basis.
                          10          21.   State Farm Bank lacks sufficient information and belief to admit or
                          11 deny the allegations contained in paragraph 21, and denies such allegations on that
                          12 basis.
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                          13          22.   State Farm Bank admits that one of the terms of the settlement
                          14 agreement between State Farm Bank and Plaintiff, was for Plaintiff to pay State
                          15 Farm Bank a total of $9,000 -- at $300 per month, over 30 months. State Farm
                          16 Bank lacks sufficient information and belief to admit or deny the remaining
                          17 allegations contained in paragraph 22, and denies such allegations on that basis.
                          18          23.   State Farm Bank lacks sufficient information and belief to admit or
                          19 deny the allegations contained in paragraph 23, and denies such allegations on that
                          20 basis.
                          21          24.   State Farm Bank lacks sufficient information and belief to admit or
                          22 deny the allegations contained in paragraph 24, and denies such allegations on that
                          23 basis.
                          24          25.   State Farm Bank lacks sufficient information and belief to admit or
                          25 deny the allegations contained in paragraph 25, and denies such allegations on that
                          26 basis.
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                           1          26.   State Farm Bank lacks sufficient information and belief to admit or
                           2 deny the allegations contained in paragraph 26, and denies such allegations on that
                           3 basis.
                           4          27.   State Farm Bank lacks sufficient information and belief to admit or
                           5 deny the allegations contained in paragraph 27, and denies such allegations on that
                           6 basis.
                           7          28.   State Farm Bank lacks sufficient information and belief to admit or
                           8 deny the allegations contained in paragraph 28, and denies such allegations on that
                           9 basis.
                          10          29.   State Farm Bank lacks sufficient information and belief to admit or
                          11 deny the allegations contained in paragraph 29, and denies such allegations on that
                          12 basis.
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                          13          30.   State Farm Bank lacks sufficient information and belief to admit or
                          14 deny the remaining allegations contained in paragraph 30, and denies such
                          15 allegations on that basis.
                          16          31.   State Farm Bank denies the allegations in paragraph 31 as to State
                          17 Farm Bank. State Farm Bank lacks sufficient information and belief to admit or
                          18 deny the remaining allegations contained in paragraph 31, and denies such
                          19 allegations on that basis.
                          20          32.   State Farm Bank lacks sufficient information and belief to admit or
                          21 deny the allegations contained in paragraph 32, and denies such allegations on that
                          22 basis.
                          23                                        Damages
                          24          33.   State Farm Bank denies the allegations in paragraph 33 as to State
                          25 Farm Bank. State Farm Bank lacks sufficient information and belief to admit or
                          26 deny the remaining allegations contained in paragraph 33, and denies such
                          27 allegations on that basis.
                          28


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                           1          34.   State Farm Bank denies the allegations in paragraph 34 as to State
                           2 Farm Bank. State Farm Bank lacks sufficient information and belief to admit or
                           3 deny the remaining allegations contained in paragraph 34, and denies such
                           4 allegations on that basis.
                           5          35.   State Farm Bank denies the allegations in paragraph 35 as to State
                           6 Farm Bank. State Farm Bank lacks sufficient information and belief to admit or
                           7 deny the remaining allegations contained in paragraph 35, and denies such
                           8 allegations on that basis.
                           9          36.   State Farm Bank lacks sufficient information and belief to admit or
                          10 deny the allegations contained in paragraph 36, and denies such allegations on that
                          11 basis.
                          12            Count I -- Violations of the Fair Debt Collection Practices Act
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                          13                                 (Against AFNI, Inc.)
                          14          37.   Regarding the allegations in paragraph 27, State Farm Bank
                          15 incorporates its responses to the allegations of the preceding paragraphs and
                          16 incorporates them here by reference.
                          17          38.   State Farm Bank lacks sufficient information and belief to admit or
                          18 deny the allegations contained in paragraph 38, and denies such allegations on that
                          19 basis.
                          20          39.   State Farm Bank lacks sufficient information and belief to admit or
                          21 deny the allegations contained in paragraph 39, and denies such allegations on that
                          22 basis.
                          23          40.   State Farm Bank lacks sufficient information and belief to admit or
                          24 deny the allegations contained in paragraph 40, and denies such allegations on that
                          25 basis.
                          26          41.   State Farm Bank lacks sufficient information and belief to admit or
                          27 deny the allegations contained in paragraph 41, and denies such allegations on that
                          28 basis.


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                           1          42.   State Farm Bank lacks sufficient information and belief to admit or
                           2 deny the allegations contained in paragraph 42, and denies such allegations on that
                           3 basis.
                           4          43.   State Farm Bank lacks sufficient information and belief to admit or
                           5 deny the allegations contained in paragraph 43, and denies such allegations on that
                           6 basis.
                           7          a.    Violations of the FDCPA § 1692d
                           8          44.   State Farm Bank lacks sufficient information and belief to admit or
                           9 deny the allegations contained in paragraph 44, and denies such allegations on that
                          10 basis.
                          11          45.   State Farm Bank lacks sufficient information and belief to admit or
                          12 deny the allegations contained in paragraph 45, and denies such allegations on that
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                          13 basis.
                          14          46.   State Farm Bank lacks sufficient information and belief to admit or
                          15 deny the allegations contained in paragraph 46, and denies such allegations on that
                          16 basis.
                          17          b.    Violations of FDCPA § 1692e
                          18          47.   State Farm Bank lacks sufficient information and belief to admit or
                          19 deny the allegations contained in paragraph 47, and denies such allegations on that
                          20 basis.
                          21          48.   State Farm Bank lacks sufficient information and belief to admit or
                          22 deny the allegations contained in paragraph 48, and denies such allegations on that
                          23 basis.
                          24          49.   State Farm Bank lacks sufficient information and belief to admit or
                          25 deny the allegations contained in paragraph 49, and denies such allegations on that
                          26 basis.
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                           1          c.    Violations of FDCPA § 1692f
                           2          50.   State Farm Bank lacks sufficient information and belief to admit or
                           3 deny the allegations contained in paragraph 50, and denies such allegations on that
                           4 basis.
                           5          51.   State Farm Bank lacks sufficient information and belief to admit or
                           6 deny the allegations contained in paragraph 51, and denies such allegations on that
                           7 basis.
                           8     Count II -- Violations of the Rosenthal Fair Debt Collection Practices Act
                           9                                  (Against AFNI, Inc.)
                          10          52.   Regarding the allegations in paragraph 52, State Farm Bank
                          11 incorporates its responses to the allegations of the preceding paragraphs and
                          12 incorporates them here by reference.
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                          13          53.   State Farm Bank lacks sufficient information and belief to admit or
                          14 deny the allegations contained in paragraph 53 and denies such allegations on that
                          15 basis.
                          16          54.   State Farm Bank lacks sufficient information and belief to admit or
                          17 deny the allegations contained in paragraph 54, and denies such allegations on that
                          18 basis.
                          19          55.   State Farm Bank lacks sufficient information and belief to admit or
                          20 deny the allegations contained in paragraph 55, and denies such allegations on that
                          21 basis.
                          22          a.    Violations of RFDCPA § 1788.17
                          23          56.   This paragraph sets forth legal theories, conclusions or arguments to
                          24 which no response is required. To the extent a response is required, State Farm
                          25 Bank lacks sufficient information and belief to admit or deny the allegations
                          26 contained in paragraph 56, and denies such allegations on that basis.
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                           1          57.   State Farm Bank lacks sufficient information and belief to admit or
                           2 deny the allegations contained in paragraph 57, and denies such allegations on that
                           3 basis.
                           4          58.   State Farm Bank lacks sufficient information and belief to admit or
                           5 deny the allegations contained in paragraph 58, and denies such allegations on that
                           6 basis.
                           7    COUNT III --Violations of the Rosenthal Fair Debt Collection Practices Act
                           8                           (Against State Farm Bank F.S.B.)
                           9          59.   Regarding the allegations in paragraph 59, State Farm Bank
                          10 incorporates its responses to the allegations of the preceding paragraphs and
                          11 incorporates them here by reference.
                          12          60.   State Farm Bank lacks sufficient information and belief to admit or
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                          13 deny the allegations contained in paragraph 60, and denies such allegations on that
                          14 basis.
                          15          61.   State Farm Bank lacks sufficient information and belief to admit or
                          16 deny the allegations contained in paragraph 61, and denies such allegations on that
                          17 basis.
                          18          62.   State Farm Bank lacks sufficient information and belief to admit or
                          19 deny the allegations contained in paragraph 62, and denies such allegations on that
                          20 basis.
                          21          a.    Violations of RFDCPA § 1788.17
                          22          63.   This paragraph sets forth legal theories, conclusions or arguments to
                          23 which no response is required. To the extent a response is required, State Farm
                          24 Bank lacks sufficient information and belief to admit or deny the allegations
                          25 contained in paragraph 63, and denies such allegations on that basis.
                          26          64.   State Farm Bank denies the allegations in paragraph 64.
                          27          65.   State Farm Bank denies the allegations in paragraph 65 against State
                          28 Farm Bank. State Farm Bank lacks sufficient information and belief to admit or


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                           1 deny the other allegations contained in paragraph 65, and denies such allegations
                           2 on that basis.
                           3          66.   State Farm Bank denies the allegations in paragraph 66.
                           4          67.   State Farm Bank denies the allegations in paragraph 67.
                           5          68.   State Farm Bank denies the allegations in paragraph 68.
                           6     COUNT III --Violations of the Rosenthal Fair Debt Collection Practices Act
                           7                           (Against State Farm Bank F.S.B.)
                           8          69.   Regarding the allegations in paragraph 60, State Farm Bank
                           9 incorporates its responses to the allegations of the preceding paragraphs and
                          10 incorporates them here by reference.
                          11          70.   State Farm Bank lacks sufficient information and belief to admit or
                          12 deny the allegations contained in paragraph 70, and denies such allegations on that
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                          13 basis.
                          14          71.   State Farm Bank denies the allegations in paragraph 71.
                          15          72.   State Farm Bank denies the allegations in paragraph 72.
                          16          73.   State Farm Bank denies the allegations in paragraph 73.
                          17          74.   State Farm Bank denies the allegations in paragraph 74.
                          18          75.   State Farm Bank lacks sufficient information and belief to admit or
                          19 deny the allegations contained in paragraph 75, and denies such allegations on that
                          20 basis.
                          21                             AFFIRMATIVE DEFENSES
                          22                                    FIRST DEFENSE
                          23                               (Failure To State A Claim)
                          24          93.   The complaint and all causes of action alleged in the complaint fail to
                          25 state a claim upon which relief can be granted.
                          26                                  SECOND DEFENSE
                          27                                 (Statute of Limitations)
                          28          94.   Plaintiff’s claims are barred by the applicable statute of limitations.


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                           1                                   THIRD DEFENSE
                           2                      (Compliance With Statutory Obligations)
                           3         95.   State Farm Bank was at all times in compliance with all relevant
                           4 federal and state laws and statutes relating to Plaintiff’s complaint, including the
                           5 subject matters of Plaintiff’s complaint.
                           6                                 FOURTH DEFENSE
                           7                 (Reasonable Investigation, Policies And Procedures)
                           8         96.   State Farm Bank implemented all reasonable policies and procedures,
                           9 and performed all reasonable investigations, relating to Plaintiff’s complaint,
                          10 including the subject matters of Plaintiff’s complaint.
                          11                                   FIFTH DEFENSE
                          12                           (Plaintiff’s Acts And Omissions)
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                          13         97.   Plaintiff’s acts and/or omissions, or the acts and/or omissions of
                          14 Plaintiff’s agents, caused Plaintiff’s alleged damages and bar Plaintiff from any
                          15 recovery alleged in her complaint.
                          16                                   SIXTH DEFENSE
                          17                        (Acts And Omissions Of Third Parties)
                          18         98.   The acts and/or omissions of third parties caused Plaintiff’s alleged
                          19 damages and bar Plaintiff from any recovery against State Farm Bank.
                          20                                 SEVENTH DEFENSE
                          21                             (Failure to Mitigate Damages)
                          22         99.   Plaintiff failed to take reasonable actions and/or precautions to
                          23 mitigate her alleged damages.
                          24                                  EIGHTH DEFENSE
                          25                                        (Waiver)
                          26         100. Plaintiff is barred from recovery by the defense of waiver.
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                                      STATE FARM BANK, F.S.B. ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
                               Case 2:21-cv-01681-TLN-JDP Document 6 Filed 10/27/21 Page 12 of 14



                           1                                   NINTH DEFENSE
                           2                                       (Estoppel)
                           3         101. Plaintiff is estopped from recovering against State Farm Bank.
                           4                                  TENTH DEFENSE
                           5                                        (Consent)
                           6         102. Plaintiff knew and consented to the acts alleged in her complaint.
                           7                                ELEVENTH DEFENSE
                           8                                    (Unclean Hands)
                           9         103. Plaintiff is barred from recovery because of unclean hands.
                          10                                TWELFTH DEFENSE
                          11                                       (Privilege)
                          12         104. At all times, State Farm Bank’s conduct was legally justified and
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                          13 privileged.
                          14                              THIRTEENTH DEFENSE
                          15                                         (Offset)
                          16         105. State Farm Bank is entitled to a partial or total offset against
                          17 Plaintiff’s alleged damages.
                          18                              FOURTEENTH DEFENSE
                          19             (Plaintiff’s Failure To Comply With Statutory Procedures)
                          20         106. Plaintiff’s failure to comply with the relevant statutory and/or legal
                          21 procedures for the subject matters in her complaint bar recovery, if any.
                          22                                FIFTEENTH DEFENSE
                          23                                  (Unjust Enrichment)
                          24         107. Allowing Plaintiff to recover monetary damages against State Farm
                          25 Bank would constitute unjust enrichment.
                          26
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                                      STATE FARM BANK, F.S.B. ANSWER AND AFFIRMATIVE DEFENSES TO COMPLAINT
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                           1                                SIXTEENTH DEFENSE
                           2                                  (Balance of Equities)
                           3         108. Plaintiff’s causes of action are barred in whole or in part because the
                           4 equities in this case weigh against the relief Plaintiff seeks.
                           5                              SEVENTEENTH DEFENSE
                           6                                  (Breach of Contract)
                           7         109. Plaintiff’s causes of action are barred because Plaintiff has breached
                           8 the settlement agreement reached with State Farm Bank.
                           9                               EIGHTEENTH DEFENSE
                          10                                 (No Punitive Damages)
                          11         110. Plaintiff fails to allege facts and causes of action which would give
                          12 rise to punitive damages.
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                          13
                          14                                    JURY DEMAND
                          15                          State Farm Bank demands a jury trial.
                          16
                          17                                PRAYER FOR RELIEF
                          18 WHEREFORE, State Farm Bank prays as follows:
                          19         1.     That Plaintiff takes nothing by reason of the complaint;
                          20         2.     That judgment be entered in favor of State Farm Bank and against the
                          21 Plaintiff with State Farm Bank recovering the costs of suit incurred herein; and
                          22         3.     For such other and further relief as this Court deems just and proper.
                          23 DATED: October 27, 2021                      BERGER KAHN, A Law Corporation
                          24
                          25                                              By:
                                                                                SHERMAN M. SPITZ
                          26                                                    HEATHER C. WHITMORE
                          27                                                    Attorney for Defendant STATE
                                                                                FARM BANK, F.S.B.
                          28


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                           1          AFFIDAVIT AND DECLARATION OF PROOF OF SERVICE
                           2         I am over the age of eighteen years and not a party to the within action. I am
                           3 employed by Berger Kahn, A Law Corporation, whose business address is: 1 Park
                           4 Plaza, Suite 340, Irvine, California 92614-8516 (“the firm”).
                           5         On October 27, 2021, I served the within document(s) described as: STATE
                           6 FARM BANK, F.S.B. ANSWER AND AFFIRMATIVE DEFENSES TO
                           7 COMPLAINT on the interested parties in this action by placing true copy(ies)
                           8 thereof enclosed in sealed envelope(s) addressed as follows:
                           9 Attorneys for Plaintiff          NICHOLAS M. WAJDA
                             Amaris A. Alcantar               WAJDA LAW GROUP, APC
                          10                                  6167 Bristol Parkway, Suite 200
                                                              Culver City, CA 90230
                          11
                                                              Email: nick@wadjalawgroup.com
                          12
                          13
1 Park Plaza, Suite 340




                                     BY MAIL (Code Civ. Proc. §§ 1013a(3))–I deposited such envelope(s) for
  A Law Corporation
  BERGER KAHN


   Irvine, CA 92614




                          14 processing   in the mail room in our offices. I am “readily familiar” with the firm’s
                             practice of collection and processing correspondence for mailing. It is deposited
                          15 with the U.S. Postal Service on that same day with postage thereon fully prepaid at
                             Irvine, California, in the ordinary course of business. I am aware that on motion of
                          16 a party served, service is presumed invalid if postal cancellation date or postage
                             meter date is more than one day after the date of deposit for mailing in affidavit.
                          17
                          18 that theI declare under penalty of perjury under the laws of the State of California
                                       foregoing is true and correct.
                          19
                                     Executed on October 27, 2021 at Irvine, California.
                          20
                          21
                                                                     ATHENA KETCHER
                          22
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                                                                        1
                                                                PROOF OF SERVICE
